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PROB 12B
(PAWP 4/16)

                                    UNITED STATES DISTRICT COURT
                                                        for the
                                           WESTERN DISTRICT OF PENNSYLVANIA

                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender
                                      (Probation Form 49, Waiver of Hearing is Attached)


Offender:                      Emerson Winfield Begolly                                   Docket No.:2:11CR00172 and 2:11CR00029
Sentencing Judge:              Maurice B. Cohill, Jr., Senior United States District Judge
Current Judge:                 David Stewart Cercone, United States District Judge
Date of Original Sentence:     July 16, 2013
Original Offense:              Using and Carrying a Firearm During and in Relation to a Crime(2:11CR00029) and Solicitation of a
                               Crime of Violence(2:11CR00172)
Original Sentence:           102 months of imprisonment(42 months at 2:11CR00172 and 60 months at 2:11CR00029 to be served
                             consecutively); 3 years of supervised release at 2:11CR00172 and five years at 2:11CR00029, to be served
                             concurrently for a total term of supervised release of 5 years.
Special conditions:            Special Assessment, Computer Search, Computer/Internet Restrictions, Search/Seizure, Mental Health
                               Treatment
Type of Supervision:           Supervised Release                                              Date Supervision Commenced: June 1, 2018
Prior Court History:           None


                                                    PETITIONING THE COURT

Your petitioner is requesting the following:

‫ ܈‬To modify the conditions of supervision as follows:

    x    All online communications/activities must be conducted in English for the purpose of enforcing the computer
         monitoring restrictions.

    x    The defendant shall not host a website as an administrator/moderator at any time while under supervision.


                                                                  CAUSE

Based on the history, characteristics, and nature of the offense these conditions would enhance our ability to effectively supervise the
offender in the community.
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Offender: Emerson Winfield Begolly
Docket No.:2:11CR00172
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                                                                 I declare under penalty of perjury that the foregoing is true
                                                                 and correct.
                                                                                                                   David J. Danko
                                                                 Respectfully Submitted,                           2018.06.12
                                                                                                                   11:02:33 -04'00'
                                                          By:
                                                                                        David J. Danko
                                                                                     U.S. Probation Officer
                                                  Approved By:     Wendy M. Brown Digitally signed by Wendy M. Brown
                                                                                  Date: 2018.06.12 10:28:58 -04'00'
                                                                                        Wendy Brown
                                                                               Supervisory U.S. Probation Officer
                                                         Date:                             6/12/2018

THE COURT ORDERS:
‫ ܆‬No Action
‫ ܆‬The extension of supervision as noted above.
‫ ܆‬The Modification of conditions as noted above
‫ ܆‬Other

                                                                   David Stewart Cercone, United States District Judge

                                                                                            Date
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